                         Case 2:10-cr-00379-CDJ Document 44 Filed 03/31/15 Page 1 of 6
A0245B       (Rev. 09/11) Judgment in a Criminal Case
             Sheet 1



                                         UNITED STATES DISTRICT COURT
                                     Eastern District of Pennsylvania
                                                     )
            UNITED STATES OF AMERICA                 )     JUDGMENT IN A CRIMINAL CASE
                       v.                            )
                                                     )
               BRANDON BRUNSON                       )     FILED
                                                           Case Number: DPAE210CR000379-001

                                                        MAR 3 1 2015       ~    USM Number:            66057-066

                                                    MICttAaf.KU\Wi?fCfe~)       Catherine Henr~.
                                                    e.v.         · oep.cteak    Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)        ..::12.,..:...3,'-24,. .::.5_,_,=an.:..:d:_7:____ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                       Offense Ended              Count
18:1951(a)                       Robbery which Interfered with Interstate Commerce                       2/24/2010             1, 3, 5, and 7
18:924(c)                        Using and Carrying a Firearm During a Crime of Violence                 2/24/2010                    4




       The defendant is sentenced as provided in pages 2 through               6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0rhe defendant has been found not guilty on count(s)
~Count(s)      2, 6, & 8                                   Dis      ~are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district wit in 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed      is judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material       ges in economic circumstances.




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                          Case 2:10-cr-00379-CDJ Document 44 Filed 03/31/15 Page 2 of 6


AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   2   of   6
DEFENDANT:                     BRUNSON, BRANDON
CASE NUMBER:                   10.CR.379.01



                                                                IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
                          240 MONTHS - TOTAL PERIOD OF INCARCERATION
                          156 MONTHS - ON COUNTS 1, 2, 5 & 7 (to run concurrently)
                          84 MONTHS - ON COUNT 4 (to run consecutively)



      ~ The court makes the following recommendations to the Bureau of Prisons:
          Defendant to be designated as close as posisble to the Philadelphia area.
          Defendant to receive drug rehabilitation, mental heath treatment and vocational training.




      ~ The defendant is remanded to the custody of the United States Marshal.

      0   The defendant shall surrender to the United States Marshal for this district:

          D    at                                    D   a.m.    Op.m.      on

          0    as notified by the United States Marshal.

      0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D    before 2 p.m. on
          D    as notified by the United States Marshal.
          D    as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at    - - - - - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL




                                                                           By - - - - - - ----------------
                                                                                        DEPUTY UNITED STATES MARSHAL
                          Case 2:10-cr-00379-CDJ Document 44 Filed 03/31/15 Page 3 of 6

AO 2458     (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3- Supervised Release
                                                                                                           Judgment-Page              3   of   6
DEFENDANT:                    BRUNSON, BRANSON
CASE NUMBER:                  10.CR.579.01

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
          5 YEARS TOTAL (3 YEARS ON CTS 1, 3, 5, & 7 AND 5 YEARS ON COUNT 4 TO RUN CONCURRENTLY)
         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 IZI    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 IZI    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check,        if applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D      as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check,     if applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;

  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant's compliance with such notification requirement.
                         Case 2:10-cr-00379-CDJ Document 44 Filed 03/31/15 Page 4 of 6


A0245B      (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3C- Supervised Release
                                                                                                      Judgment-Page          4    of       6
DEFENDANT:                  BRUNSON, BRANDON
CASE NUMBER:                10.CR.579.01

                                          SPECIAL CONDITIONS OF SUPERVISION
The defendant shall refrain from the illegal possession and/or use of drugs and shall submit to urinalysis or other forms of testing to
ensure compliance. It is further ordered that the defendant shall participate in drug treatment and abide by the rules of any such program
untilsatisfactorily discharged.

The defendant shall participate in a mental health program for evaluation and/or treatment and abide by the rules of any such program until
satisfactorily discharged.

The defendant shall provide the U.S. Probation Office with full disclosure of his financial records to include yearly income tax returns
upon the request of the U.S. Probation Office. The defendant shall cooperate with the probation officer in the investigation of his financial
dealings and shall provide truthful monthly statements of his income.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval of the
probation officer, unless the defendant is in compliance with a payment schedule for any restitution obligation. The defendant shall not
encumber or liquidate interest in any assets unless it is in direct service of the restitution obligation or otherwise has the express approval
of the Court.

It is further ordered that the defendant shall make restitution in the amount of $737. The Court will waive the interest requirement in this
case. Payments should be made payable to Clerk, U.S. District Court for distribution to the victim in this case:

Ed's Pizza House
5022 Wayne Avenue
Philadelphia, PA 19144
$537

Kang's Mini Market
Address to be determined
$200

The restitution is due immediately. It is recommended that the defendant participate in the Bureau of Prisons Inmate Financial
Responsibility Program and provide a minimum of $25 per quarter towards the restitution. In the event the restitution is not paid prior to
the commencement of supervision, the defendant shall satisfy the amount due in monthly installments of not less than $100, to commence
30 days after release from confinement.

It is ordered that the defedant shall pay to the United States a fine of $2500. The Court finds that the defendant lacks the ability to pay a
fine within the guideline range. The Court will waive the interest in this case.

The defendant shall notify the United States Attorney for this district within 30 days of any change of mailing address or residence that
occurs while any portion of the fine remains unpaid.

It is further ordered that the defendant shall pay to the United States a total special assessment of $500, which shall be due immediately.
                       Case 2:10-cr-00379-CDJ Document 44 Filed 03/31/15 Page 5 of 6

AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment - Page    5       of        6
DEFENDANT:                        BRUNSON, BRANDON
CASE NUMBER:                      10.CR.379.01

                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                           Fine                             Restitution
TOTALS            $ 500.00                                             $ 2,500.00                        $ 737.00

D    The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                                Total Loss*                        Restitution Ordered                 Priority or Percentage




 TOTALS                               $ _ _ _ _ _ __                          $ _ _ _ _ _ __

 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ~    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [8J the interest requirement is waived for the            D fine D restitution.
      D    the interest requirement for the          D   fine    D restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                          Case 2:10-cr-00379-CDJ Document 44 Filed 03/31/15 Page 6 of 6

AO 245B     (Rev. 09/11) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments

                                                                                                              Judgment - Page        6       of         6
DEFENDANT:                    BRUNSON, BRANDON
CASE NUMBER:                  10.CR.379.01

                                                           SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    0      Lump sum payment of$                                 due immediately, balance due

            D     not later than                                      , or
            D     in accordance           D    C,      D   D,    D     E, or     D    F below; or

 B   12:1   Payment to begin immediately (may be combined with                   0    C,      12:1   D, or      D    F below); or

 C   D      Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D   12:1   Payment in equal        monthly        (e.g., weekly, monthly, quarterly) installments of $ 100.00                 over a period of
               months    (e.g., months or years), to commence             30        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    D     Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    0     Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, ( 4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
